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                  IN THE UNITED STATES DISTRICT COURT FOR THE
                         NORTHERN DISTRICT OF FLORIDA
                              GAINESVILLE DIVISION


UNITED STATES OF AMERICA,
v.                                                             CASE NO. 1:04-cr-00037-MP-AK

LATISHA LASHELLE CARTER,

      Defendant.
___________________________/

                                            ORDER

       This matter is before the Court on Doc. 144, Motion to Continue Sentencing by Latisha

Lashelle Carter. The Motion to Continue is granted, and sentencing is rescheduled for Thursday,

September 22, 2005, at 9:30 a.m.

       DONE AND ORDERED this _17th day of August, 2005


                                        s/Maurice M. Paul
                                   Maurice M. Paul, Senior District Judge
